    Case 1:21-cr-20324-JEM Document 92 Entered on FLSD Docket 12/10/2021 Page 1 of 7

                                  U NITED STATES D ISTRICT C OURT
                                          SOU TH ER N DISTRICT OF FLOW DA
                                                  M IAM IDIW SION

 UN ITED STA TES O F A M ERICA                                        j   JUDGM ENT IN A CRIM IN AT,CASE
                                                                      j
                                                                      j
                                                                      j   CaseNumber:1:21-CR-20324-JEM (5)
 M ICH A EL D A YN ELL BU RR O M Y S                                  j   USM Number:47623-509
                                                                      j
                                                                      j   CounselforDefendant:RussellJayW illiams
                                                                      j   CounselforUnitedStates:ShannonKelleyShaw

TH E D EFEN D AN T :
 I
 ZI pleadedguiltytocountone(1)
      pleadedguiltytocountts)beforeaU.S.Magistrate
      Judce,w hich wasacce tedb thecourt.
      pleadednolocontenderetocountts)whichwas
      acce tedb thecourt
 EEI wasfoundguiltyoncountts)afterapleaofnotguilty

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section /N atureofO ffense                                                          Offense Ended       Count
 18:1349.F Conspiracy To CommitHea1th Careand W ire Fraud/18:1349.F                         03/01/2021          1




Thedefendantissentencedasprovidedinpages2through7ofthisjudgment.ThesentenceisimposedpursuanttotheSentencing
Reform A ctof1984.

 Eèl Thedefendanthasbeenfoundnotguiltyoncountts)
 I
 XI countts)4,5,6,7,8ELIis ( 71aredismissedonthemotionoftheUnitedstates
        Itisorderedthatthedefendantm ustnotifytheUnitedStatesattorney forthisdistrictw ithin30 daysofany changeofnam e,
residence,ormailingaddressuntilal1fmes,restitution,costs,andspecialassessmentsimposedbythisjudgmentaref'ullypaid.If
ordered topay restitution,thedefendantm ustnotify thecourtandUnited Statesatlorney ofm aterialchangesin econom ic
circum stances.

                                                               D ecem ber 10.2021
                                                               DateofImpositionofJudgment




                                                               Signatureof dge

                                                               JO SE E.M ARTINEZ
                                                               UNITED STATES DISTRICT JUDGE
                                                               NameandTitleofJudge

                                                                          l /p A #
                                                               Date
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DEFENDANT:              M ICHAEL DAYNELL BURROW ES
CASE NUM BER:           1:21-CR-20324-JEM(5)
                                              IM PR ISO N M E N T

Thedefendantishereby committedtothecustody oftheUnitedStatesBureau ofPrisonstobeimprisonedforatotalterm of:

46 m onthsastocount1.

 EZ ThecourtmakesthefollowingrecommendationstotheBufeauofPrisons:
The defendantshallbe assigned to afacility ascloseto the Southern D istrictofFlorida aspossible com mensuratew ith his
background and theoffenseofwhich hestandsconvicted.

The Courtrecom m endsthatthe defendantbescreened forsubstance abuseproblem sand bereferred to participate in an
appropriate drug education/treatm entprogram asdeem ed appropriate by theBureau ofPrisons. Thism ay include
placementintheResidentialDrugAbuseTreatmentProgram (i.e.500-hourdrugtreatmentprogram)atadesignated
Bureau ofPi-isons institution.



 (
 Sl ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
 EEI ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:

              at                                  a.rn.         P.m .   On

         EEI asnotifiedbytheUnitedStatesMarshal.

 EZ ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:

         EEI before2p.m.on
         Z asnotifiedbytheUnitedStatesMarshal.
         EEI asnotifiedbytheProbationorPretrialServicesOffke.


                                                     R E TU R N
Ihaveexecutedthisjudgmentasfollows:

       D efendantdeliveredon                              to


at                                ,withacertifiedcopyofthisjudgment.


                                                                             UNITED STATES MARSHAL

                                                                                      By
                                                                          DEPUTY UNITED STATESNLYRSHAL
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DEFEN DAN T:            M ICHAEL DAU ELL BURROW ES
CA SE M JM BER:         l:21-CR-20324-JEM(5)
                                           SU PE R V ISED R EL EA SE
Upon releasefrom imprisonment,thedefendantshallbeon supervised releaseforaterm of:three(3)yearsastocountone.


                                       M A N D A T O R Y C O N D ITIO N S

 1. Youmustnotcommitanotherfederal,stateorlocalcrime.
 2. Y oum ustnotunlaw fullypossessacontrolledsubstance.
 3. Youmustrefrainfrom anyunlawfuluseofacontrolledsubstance.You mustsubmittoonedrug testwithin 15daysofrelease
    from imprisonmentand atleasttwo periodicdrug teststhereafter,asdetermined bythecourt,
          EIII Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatyouposealow riskoffuture
              substanceabuse.(checkfapplicable)
     EqI Youmustmakerestitutioninaccordancewith 18U.S.C.js3663and3663A oranyotherstamteauthorizingasentence
         ofrestimtion.(checkfapplicable)
     El YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkfapplicable)
     I
     H YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,et
         seqa)asdirectedbytheprobationofficer,theBureauofPrisons,oranystatesexoffenderregistrationagencyinwhich
         youreside,work,areastudent,orwereconvictedofaqualifyingoffense.(checkfapplicable)
     El
      1) Youmustparticipateinanapprovedprogram fordomesticviolence.(checkfapplicable)
          Y oum ustcom ply with thestandard conditionsthathavebeen adopted bythiscourtasw ellasw ithany additional
 conditionsontheattached page.
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DEFEND ANT'
          .               M ICHAEL DAYNELL BURROW ES
CASE NUMBER:              l:21-CR-20324-JEM(5)
                            STA        A      C O N D ITIO N S O F SU PE R V ISIO N

A spal4ofyoursupervisedrelease,youm ustcom ply withthefollowingstandard conditionsofsupervision.Theseconditionsare
irhposed becausethey establishthebasicexpectationsforyourbehaviorwhileonsupervisionandidentify theminimum toolsneeded
by probation officerstokeep infolnned,reporttothecourtabout,andbring aboutimprovementsinyourconductand condition.

I.Youmustreporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
releasefrom im prisonm ent,unlesstheprobationofficerinstructsyoutorepol' ttoadifferentprobationofficeorw ithinadifferenttim e
fram e.
2.Aflerinitiallyreportingtotheprobation office,youw illreceiveinstructionsfrom thecourtortheprobation officerabouthow and '
when you m ustreporttotheprobation officer,andyoum ustreportto theprobation officerasinstructed.
3.Youmustuotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpermissionfrom
thecourtortheprobationofficer.
4.Youm ustanswertruthfully thequestionsaskedby yourprobation officer.
5.You mustliveataplaceapprovedby theprobation officer.lfyouplanto changewhereyou liveoranythingaboutyourliving
arrangements(suchasthepeopleyoulivewith),youmustnotifytheprobationoftkeratleast10daysbeforethechange.Ifnotifying
theprobation officerin advanceisnotpossiblcduetounanticipated circum stances,you m ustnotifytheprobation ofticerw ithin 72
hoursofbecom ing awareofachangeorexpected change.
6.You mustallow theprobation officertovisityou atanytim catyourhom eorelsewhere,andyoum ustperm ittheprobation officer
totakeany item sprohibitedby theconditionsofyoursupervision thatheorsheobservesin plain view ,
7.Youmustworkfu11time(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationofficerexcusesyoufzom
doing so.lfyou donothavefull-tim eemploym entyoum usttry tofind full-tim eemploym ent,unlesstheprobation officerexcuses
youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositionoryourjob
responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfnotifyingtheprobationofficeratleast10
daysin advanceisnotpossibleduetounanticipated circum stances,you m ustnotifytheprobationofficerw ithin 72 hoursof
becoming awareofachangeorexpected change.
8.Youm ustnotcom m unicateorinteractw ith som eoneyouknow isengaged in crim inalactivity.Ifyouknow som eonehasbeen
convictedofafelony,you mustnotknowingly communicateorinteractwith thatpersonwithoutfirstgetling theperm ission ofthe
probation officer.
9.lfyou arearrested orquestionedby a1aw enforcem entofficer,you mustnotifytheprobation officerwithin 72hours.
10.Youmustnotown,possess,orhaveaccesstoafirearm,ammunition,destructivedevice,ordangerousweapon(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespecificpurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
tasers).
11.Youm ustnotactorm akeany agreem entw ith a1aw enforcem entagency toactasaconfidentialhum an sourceorinform ant
withoutfirstgetting thepermission ofthecourt.
12.Iftheprobationofficerdetenninesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
requireyou tclnotifytheperson abouttherisk andyou mustcomplywith thatinstruction.Theprobation officermay contactthe
person and confil'
                 m thatyou havenotifiedtheperson abouttherisk.
13.You mustfollow theinstructionsoftheprobation officerrelatedtotheconditionsofsupervision.

U .S.Probation O ffice Use Only
A U.S.probationofïicerhasinstructedm eon theconditionsspecifiedby thecourtandhasprovided m ew ith awritten copy ofthis
judgmentcontainingtheseconditions.Iunderstandadditionalinformationregardingtheseconditionsisavailableat
ww w.tlsp.uscourtsacov,                                    '

 D efendant's Signature                                                                 Date
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DEFENDAN T:            M ICHAEL DAYNELL BURROW ES
CA SE N UO ER:         1:21-CR-20324-JEM (5)
                            SPE C G L C O N D IT IO N S O F SU PER V ISIO N

FinancialDisclosureRequirem ent:Thedefendantshallprovide completeaccessto financialinformation,
including disclosureofal1businessand personalfinances,totheU.S.Probation Officer.

H ealth CareBusinessR estriction:Thedefendantshallnotown,directly orindirectly,orbe employed,
directly orindirectly,in any health care business orservice,which subm its claim s to any private ozgovernm ent
insurance com pany,w ithoutthe Court'sapproval.
Substance A buse T reatm ent:The defendantshallparticipate in an approved treatm entprogram fordrug
mld/oralcoholabuse mld abideby a11supplem entalconditionsoftreatm ent.Participation m ay include
inpatient/outpayienttreatment.Thedefendantwillcontributetothecostsofselwicesrendered(co-payment)
based on ability topay oravailability ofthirdparty payment.

U npaid R estitution,Fines,or SpecialA ssessm ents:Ifthe defendanthas any tm paid am ountofrestitution,
fnes,orspecialassessm ents,thedefendantshallnotify theprobation officerofany m aterialchangein the
defendant'seconom ic circum stances thatm ightaffectthe defendant'sability to pay.
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DEFENDANT:                M ICHA EL DAYNELL BURROW ES
CASE N UM BER:            1:21-CR-20324-JEM(5)
                                   CR IM IN A L M O N E TA R Y PEN A L TIE S
        Thedefendantm ust a thetotalcrim inalm oneta enaltiesunderthescheduleof a m ents a e.
                      A ssessm ent           Restitution         Fine     AVAA A ssessm entW JVTA A ssessm ent*W
 TOTALS                      $100.00             $73,116.61             $.00

 (7) Thedeterminationofrestitutionisdeferreduntil          AnAmendedludgmentinaCriminalCase(AO245C)willbeentered
      aftersuch determ ination.
 I
 -
 x-l Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
        Seevictimslist.

        Ifthedefendantmakesapallialpayment,each payeeshallreceivean approximately propoMionedpayment.However,pursuantto 18U.S.C.
        j3664(1),al1nonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.


 (J Restimtionamountorderedpursuanttopleaagreement$
  (qj Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,unlesstherestitutionorfineispaidinfu11before
      thefifteenthdayaflerthedateofthejudjment,pursuantto18U.S.C.j36124t).Al1ofthepaymentoptionsonthescheduleof
      paymentspagemaybesubjecttopenaltlesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
 IEEI Thecoul'
             tdetenminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
      1/ theinterestrequirementiswaivedforthe EII fine                         (
                                                                               ? restitution
      EEI theinterestrequirementforthe           EEI fine                      E() restitutionismodifiedasfollows:

Restimtion with Imprisonment-Itisfurtherorderedthatthedefendantshallpay restimtion in theamountof$73,116.61.Duringthe
periodofincarceration,paymentshallbemadeasfollows:(1)ifthedefendantearnswagesinaFederalPrisonIndustries(UNICOR)
job,thenthedefendantmustpay50% ofwagesearnedtowardthefm   'ancialobligationsimposedbythisJudgmentinaCriminalCase;
 (2)ifthedefendantdoesnotworkinaUNlcoRjob,thenthedefendantmustpayaminimum of$25.00perquartertowardthe
financialobligationsimposed in thisorder.Uponreleaseofincarceration,thedefendantshallpayrestit
                                                                                             m ion attherateof10% of
monthlygrossearnings,untilsuchtimeasthecourtmayalterthatpaymentscheduleintheinterestsofjustice.TheU.S.Bureauof
Prisons,U .S.Probation OfficeandU .S.A ttorney'sOfficeshallm onitorthepaym entofrestitution andreporttothecourtany m aterial
changeintheéefendant'sabilitytopay.Thesepaymentsdonotprecludethegovernmentfrom usingotherassetsorincomeofthe
defendanttosatisfytherestitution obligations.

*Amy,Vicky,andAndyChildPornographyVictim AssistanceActof2018,18U.S.C.j2259.
##JusticeforVictimsofTraffickingActof2015,18U.S.C.j3014.
###Findingsforthetotalamountoflossesarerequired underChapters 109A,110,ll0A,and 113A ofTitle 18foroffensescommitted on orafter
September 13,1994,butbeforeApril23,1996.
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DEFENDANT:                M ICHA EL DAYNELL BURROW ES
CA SE N UM BER:           l:2l-CR-20324-.
                                        TEM (5)
                                            SC H ED U LE O F PA Y M EN T S
Having assessedthedefendant'sabilityto pay,paymentofthetotalcriminalmonetarypenaltiesisdueasfollows:

       IZ Lumpsum paymentsof$100.00dueimmediately,balancedue
Itisordered thattheDefendantshallpay to theUnited Statesaspecialassessmentof$100.00forCount1,which shallbedue
im m ediately. Said specialassessm entshallbe paid to the C lerk,U.S.DistrictCourt.Paym entisto be addressed to:

         U.S.CLER K 'S O FFICE
         ATTN :FINA NCIAL SECTIO N
         400NORTH M IAM IAVENUE,ROOM 8N09
         M IAM I,FLO RID A 33128-7716

Unlessthccourthasexpresslyorderedothenvise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
dueduring imprisomnent.Allcriminalmonetary penalties,exceptthosepaymentsm adethrough theFederalBureau ofPrisons'
lnm ateFinancialResponsibility Program ,arem adetotheclerk ofthecoul'
                                                                    t.

Thedefendantshallreceivecreditforal1paym entspreviously m adetow ard any crim inalm onetaly penaltiesimposed.

       Jointand Several
        CA SE N UM ER                                                 R ESTITUTIO N AM O U NT O RD ERED
        DEFENDAN T AND C O-D EFEN DANT NA M ES
        (INCLUDING DEFENDANT NUM BER)
        1:21-cr-20324 CarlosRafaelSaezDorta                           $73,116.61
        1:21-cr-20324VeronicaRamosHernandez                           $73,l16.61
        1:21-c1-20324 DianelisGarciaAlvarez                           $73,116.61
        1:21-c1-20324 DeandreM itchellGabriel                         $73,116.61


       SeeaboveforDefendantandCo-DefendantNamesand CaseNumbers(includingdepndantnttmber),TotalAm ount,Jointand
       SeveralAm ount,and corresponding payee,ifappropriate.

 I
 XI Thedefcndantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:
       FOR FEITURE ofthedefendant'sright,titleand interestincertain property ishereby ordered consistentwith theplea
       agreem ent.TheUnited Statesshallsubm ita proposed O rderofForfeiturewithin threedaysofthisprocetding.

Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restimtioninterest,(4)AVAA assessment,(5)
fineprincipal,(6)tineinterest,(7)communityrestitution,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostofprosecution
and courtcosts.
